Case No. 1:24-cv-03155-SKC-MDB   Document 1-8   filed 11/13/24   USDC Colorado
                                  pg 1 of 2




APPENDIX H
       Case No. 1:24-cv-03155-SKC-MDB            Document 1-8          filed 11/13/24   USDC Colorado
                                                  pg 2 of 2




Subject:                      FW: Title IX Complaint and request for Investigation



             On Oct 31, 2024, at 8:00 AM, Title IX and Equal Opportunity Mailbox
             <titleixeo@sjsu.edu> wrote:


             Hello Melissa,

             I am in receipt of your complaint. I appreciate the time you took to document
             the tremendous difficulties you and some of the players have experienced
             with the volleyball team. Would you be open to meeting with me so I can
             better understand your observations and experiences, and to discuss
             potential next steps? I have copied my colleague, Melissa, to help
             coordinate a time.

             For your awareness, I plan to send individual emails to the players you
             identified in your complaint who have been experiencing potential
             discrimination. I am also going to offer them meetings. My hope is that they
             get back to me.

             Looking forward to speaking with you in more detail.

             Kindly,
             Peter

             On Tue, Oct 29, 2024 at 2:24 PM Melissa Batie-Smoose
             <mbatiesmoose@gmail.com> wrote:
             Peter,

             Attached is my complaint about the Title IX violation.

             Melissa Batie-Smoose
             Associate Head Volleyball Coach




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